    Case: 3:17-cv-50107 Document #: 851 Filed: 07/17/23 Page 1 of 1 PageID #:39244



                                                                          Eric Shapland
                                                                          +1 213.243.4238 Direct
                                                                          Eric.Shapland@arnoldporter.com




                                                July 17, 2023


     VIA E-MAIL

     Magistrate Judge Lisa A. Jensen
     United States District Court
     Northern District of Illinois
     327 South Church Street
     Courtroom 3200
     Rockford, IL 61101

              Re:     City of Rockford, et al. v. United Biosource Corporation, et al.,
                      Case No. 3:17-cv-50107
                      MSP Recovery Claims, Series LLC, et al. v. United Biosource
                      Corporation, et al., Case No. 3:20-cv-50056

     Dear Judge Jensen:

             Don Bailey writes, by and through counsel, to provide a status report pursuant to
     the Court’s minute order of June 20, 2023 (City of Rockford, Dkt. 830). Counsel for the
     Parties have been informed that Mr. Bailey is available to sit for a remote deposition on
     July 31, 2013 and August 1, 2023 in the above captioned matters. As the parties are
     aware, ongoing medical issues require that the deposition be conducted remotely, as
     previously agreed.

                                               Respectfully Submitted,

                                               /s/ D. Eric Shapland
                                               D. Eric Shapland
                                               ARNOLD & PORTER KAYE SCHOLER LLP
                                               777 South Figueroa Street, 44th Floor
                                               Los Angeles, CA 90017-5844
                                               (213) 243-4000
                                               eric.shapland@arnoldporter.com
                                               Counsel for Don Bailey

     cc:      Eric C. Lyttle (Counsel for ESI Defendants)
              Robert Wallner (Counsel for MSP Plaintiffs)
              Donald E Haviland , Jr (Counsel for Plaintiff City of Rockford)


Arnold & Porter Kaye Scholer LLP
777 South Figueroa Street, 44th Floor | Los Angeles, CA 90017-5844 | www.arnoldporter.com
